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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL AARON TEW; and

 2. KIMBERLEY ANN TEW a/k/a
    Kimberley Vertanen,

        Defendants.


                      DECLARATION OF KIMBERLEY A. TEW

        Kimberley A. Tew, hereby makes the following declaration:
        1.     I make this declaration in connection with the motion pending before this
 Court for a Franks v. Delaware hearing.
        2.     In making this declaration, I am relying on the Simmons doctrine that what
 I say cannot be used at trial to establish my guilt.
        3.     I did not send a text message to Jonathan Yioulos from a Google Voice
 Number 469-319-0152 on July 1, 2020 or on any other date.
        4.     Jonathan Yioulos blocked my phone number on November 18, 2018.
        5.     I did not use or access the “dark net.”
        6.     I had one shared checking account with my husband, Michael Tew, at Navy
 Federal Credit Union.
        7.     I never threatened Jonathan Yioulos.
        8.     I never accessed fraudulent payments from National Air Cargo in a variety
 of bank accounts.
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       9.     On July 29, 2020, I did not mention NAC or any fraud involving NAC.
       I declare and certify under penalty of perjury that the foregoing is true and correct.
                                    23rd day of August 2022.
       Dated and executed on this _____


                                                  DECLARANT:


                                                  __________________________
                                                  Kimberley A. Tew




                                             2
